Case 1:19-cv-02726-RLY-DLP Document 1 Filed 07/03/19 Page 1 of 17 PageID #: 1



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                      Indianapolis Division


REGINA SHELTON,                                        )
          Plaintiff,                                   )
                                                       )
       v.                                              ) Case No.      1:19-cv-2726
                                                       )
EQUIFAX INFORMATION SERVICES, LLC,                     )
and NISSAN MOTOR ACCEPTANCE CORP.,                     )
           Defendants.                                 )

                         COMPLAINT WITH JURY TRIAL DEMAND

      Plaintiff, Regina Shelton (“Shelton”), by counsel, complains of Defendants, Equifax

Information Services, LLC. (“Equifax”), and Nissan Motor Acceptance Corporation (“Nissan”),

as follows:

                                      Preliminary Statement

       1.      Under the Fair Credit Reporting Act (“FCRA”), 15 U.S.C.A. § 1681 (West) et seq.,

consumer reporting agencies are charged with three primary duties: (1) the duty to follow

reasonable procedures to assure maximum possible accuracy of information when preparing

consumer reports, 15 U.S.C. § 1681e (b); (2) the duty to reasonably reinvestigate consumers’

disputes of inaccurate information, and then appropriately correct or modify the disputed

information, 15 U.S.C. § 1681i; and, (3) the duty to note a disputed item in the consumer’s credit

report, 15 U.S.C. § 1681c(f).

       2.      A consumer reporting agency’s duty to reasonably reinvestigate consumers’ disputes

of inaccurate or misleading information explicitly includes the duty to notify the providers of the

disputed information. This is because the provider of the disputed information stands in a far better

position to make a thorough investigation of the disputed information than the credit reporting
Case 1:19-cv-02726-RLY-DLP Document 1 Filed 07/03/19 Page 2 of 17 PageID #: 2



agency.

          3.   The FCRA also imposes duties on said providers of credit information

(“Furnishers”) to credit reporting agencies. Specifically, the statute requires Furnishers to “conduct

an investigation with respect to the disputed information.” 15 U.S.C. § 1681s-2(b)

          4.   Then, “[i]f an item of information disputed by a consumer is found to be inaccurate,

incomplete or cannot be verified,” the Furnisher must “promptly” “modify” “delete,” or

“permanently block the reporting of that piece of information.” 15 U.S.C. § 1681s-2(b)

          5.   In determining whether a furnisher violated § 1681s-2(b), courts first ask whether

the Furnisher “conduct[ed] a reasonable investigation of their records to determine whether the

disputed information can be verified.”

          6.   Generally, questions regarding the reasonableness of an investigation are best for a

jury to determine. See Meyer v. F.I.A. Card Serv., N.A., 780 F. Supp. 2d 879, 883 (D. Minn. 2011).

That said, regardless of an investigation’s reasonableness, a Furnisher may be entitled to summary

judgment if the consumer fails “to show actual inaccuracies that a furnisher’s objectively reasonable

investigation would have been able to discover.”

          7.   The Seventh Circuit and multiple other circuit courts have held that, “even if [credit]

information is technically correct, it may nonetheless be inaccurate if, through omission, it “creates

a materially misleading impression.” Johnson v. Equifax, LLC., 524 F. App’x 268, 370 (7th Cir.

2013) (“Johnson must prove that something in his credit report was inaccurate, or at least

misleading, to show that the defendants’ procedures were unreasonable”); Seamans v. Temple Univ.,

744 F.3d 853, 865 (3d Cir. 2014); Saunders v. Branch Banking & Trust Co. of Va., 526 F.3d 142,

148 (4th Cir. 2008); Llewellyn v. Allstate Home Loans,Inc., 711 F.3d 1173, 1186 (10th Cir. 2013);

Gorman v. Wolpoff & Abramson, LLP, 584 F. 3d 1147, 1157 (9th Cir. 2009); Boggio v. USAA Fed.
Case 1:19-cv-02726-RLY-DLP Document 1 Filed 07/03/19 Page 3 of 17 PageID #: 3



Sav. Bank, 696 F.3d 611, 616 (6th Cir. 2012).

        8.      Furnishers also have a freestanding duty under 15 U.S.C. § 1681s-2(a)(3) to inform

credit reporting agencies that credit information is disputed. As noted above, consumers may not

enforce provisions of sub-section (a) directly. However, “ the fact that a furnisher is affirmatively

obligated to flag an account as disputed under § 1681s-2(a) does not undermine the conclusion that

a failure to flag the account as disputed also constitutes a material inaccuracy under § 1681s-2(b).”

Seamans, 744 F. 3d at 867.

        9.      Thus, several Circuits have also built upon the materially misleading standard by

specifically holding that a Furnisher may “create a materially misleading impression” when,

“having received notice of a consumer’s potentially meritorious dispute, [the] furnisher

subsequently fails to report that claim is disputed. Gorman, 584 F.3d at 1162-64; Saunders, 526

F.3d at 149-50. This is so because “fail[ing] to report a bona fide dispute” “could materially alter

how the reported debt is understood.”

        10.     This action is based on Defendants’ false reporting on Plaintiff’s credit reports,

failure to report that a claim is disputed, and failures to follow reasonable procedures and to conduct

reasonable reinvestigations with respect to such information.

                                        Jurisdiction and Venue

        11.     Because this case arises under the FCRA, this Court has federal question jurisdiction

pursuant to 28 U.S.C.A. § 1331 (West).

        12.     This Court has personal jurisdiction over the Defendants because they routinely

conduct business in the State of Indiana, including the conduct complained of herein.
Case 1:19-cv-02726-RLY-DLP Document 1 Filed 07/03/19 Page 4 of 17 PageID #: 4



        13.     Venue is proper in the Southern District of Indiana because a substantial part of the

events or omissions giving rise to the claims herein occurred in this district as required by 28

U.S.C.A. § 1391 (West).

                                                Parties

        14.     Shelton is a natural person who resides in Indianapolis, Indiana.

        15.     Shelton is an individual and is therefore a “consumer” as that term is defined by 15

U.S.C.A. § 1681a(c) (West).

        16.     Equifax regularly assembles and/or evaluates consumer credit information for the

purpose of furnishing consumer reports to third parties, and uses interstate commerce to prepare

and/or furnish the reports, and accordingly, is considered a “consumer reporting agency” as that

term is defined by 15 U.S.C.A. § 1681a(f).

        17.     Nissan regularly and in the ordinary course of business furnished information to one

or more consumer reporting agencies about Shelton’s transactions and is therefore a “furnisher” as

that term is used in 15 U.S.C.A. § 1681s-2 (West).

               Factual Allegations Regarding Shelton’s Bankruptcy Proceedings.

        18.     On or about October 7, 2016, Shelton filed a Chapter 7 bankruptcy proceeding in the

Southern District of Indiana, under Cause No. 16-07772-JJG-7.

        19.     Nissan was listed on Shelton’s Schedule D, showing a claim in the amount of

$7,248.00.

        20.     A true and accurate copy of Shelton’s Schedule D is attached hereto as “Exhibit A.”

        21.     On December 7, 2016, a Reaffirmation Agreement was entered by and between

Shelton and Nissan.

        22.     A true and accurate copy of the Reaffirmation Agreement is attached hereto as
Case 1:19-cv-02726-RLY-DLP Document 1 Filed 07/03/19 Page 5 of 17 PageID #: 5



“Exhibit B.”

          23.   Shelton continued to make payments towards her obligation to Nissan during and

after her bankruptcy proceedings.

          24.   Shelton’s obligation to Nissan was not discharged via her Chapter 7 bankruptcy

filing.

          25.   Since the completion of her Chapter 7 bankruptcy proceedings, Shelton has paid off

her obligation to Nissan.

           Factual Allegations Regarding The CDIA, Metro 2, And Credit Risk Scoring.

          26.   The reporting of consumer credit information, by credit reporting agencies

(“CRAs”) and data furnishers, is the foundation of credit risk scoring and impacts the financial

lives of consumers in innumerable ways, including the availability and cost of credit, housing

opportunities, leasing prospects, insurance availability and cost, utility service, and even

employment.

          27.   In 2012, the Federal Trade Commission conducted a study regarding consumer

credit reporting errors and determined that anywhere from 10 to 21 percent of consumers have

confirmed errors on their consumer reports. Consumers can help raise their credit score by

having errors on their credit reports corrected, and consumers seeking to rebuild their credit

would be well advised to obtain their credit reports and review them for accuracy.

          28.   The Consumer Data Industry Association (“CDIA”) is an international trade

association, representing over 140 members involved in credit reporting, mortgage

reporting, check verification, tenant and employment screening, collection services, and fraud

verification services, and the CDIA is active in both federal and state legislative affairs, public

relations, education, and the promulgation of industry standards.
Case 1:19-cv-02726-RLY-DLP Document 1 Filed 07/03/19 Page 6 of 17 PageID #: 6



        29.      Because consumer credit reporting information has such far reaching

implications for nearly all consumers, the CDIA works together with CRAs to develop,

maintain, and enhance industry standard reporting formats and guidelines.

        30.      The product of that cooperation is the Metro 2 reporting standards published by

the CDIA to assist Furnishers with their compliance requirements under the FCRA. See

http://www.cdiaonline.org/about/about-cdia/

        31.     The uniform adoption and implementation of the Metro 2 standards is the primary

vehicle by which CRAs and data furnishers ensure that they are in compliance with their obligation

to maintain complete and accurate information under the FCRA.

        32.     The Metro 2 standards provide uniformity in the reporting and interpretation of

credit data, including credit risk scoring.

        33.     Equifax, Trans Union and Experian also developed a browser based software

system that allows them to electronically notify Furnishers quickly and easily about disputed

credit reporting information, and for Furnishers to quickly and easily respond to such disputes

following investigation. The system is commonly referred to as e-OSCAR and was designed to be

Metro 2 compliant. See, https://www.e-oscar.org/implementation/about-us

        34.     The e-Oscar system primarily supports Automated Credit Dispute Verificaiton

(“ACDV”) and Automated Universal Dataform (“AUD”) processing but also various related data

reporting processes.

        35.     ACDVs are notifications initiated by a CRA, and transmitted to a Furnisher, in

response to a consumer dispute, and are the primary method the CRAs use to fulfill their

statutory obligation to notify Furnishers of disputed information of consumers’ disputes.

        36.     Equifax, Trans Union and Experian have actual knowledge that entities reviewing
Case 1:19-cv-02726-RLY-DLP Document 1 Filed 07/03/19 Page 7 of 17 PageID #: 7



consumer reports prepared by them reasonably presume they have complied with CDIA guidelines

and Metro 2 standards in compiling and reporting the data therein.

        37.     One such entity that regularly reviews consumer reports, and uses the data contained

therein is the Fair Isaac Corporation.

        38.     The Fair Isaac Corporation uses the data in consumer reports to calculate a

consumer’s credit score (also known as credit risk scores).

        39.     The term credit score is a numerical value or a categorization derived from a

statistical tool or modeling system used by a person who makes or arranges a loan to predict the

likelihood of certain credit behaviors, including default. Consumer Financial Protection Bureau,

Supervision and Examination Manual, Version 2 (October 2012), p 53, available at

http://files.consumerfinance.gov/f/201210_cfpb_supervision-and-examination-manual-v2.pdf

        40.     The Fair Isaac Corporation credit risk scoring system (“FICO”) is the leading credit

risk scoring system, and utilizes data reported by credit reporting agencies and furnishers which are,

ostensibly, in compliance with Metro 2 standards.

        41.     FICO scores are calculated from five main categories of credit data in a

consumer’s credit report. Those categories, and their weighted values, are as follows: payment

history accounts for 35% of a consumer’s FICO score; debt/amounts owed accounts for 30% of

a consumer’s FICO score; age/length of credit history accounts for 15% of a consumer’s FICO

score; new credit/recent inquiries accounts for 10% of a consumer’s FICO score; and, mix of

accounts/types of credit accounts for 10% of a consumer’s FICO score.

See www.myfico.com/credit-education/whats-in-your-credit-score/.

        42.     The cost of credit (e.g., interest rates, fees, etc.), the availability of credit, and even

unsolicited credit offers, such as the opportunity to refinance a mortgage at a lower interest rate,
Case 1:19-cv-02726-RLY-DLP Document 1 Filed 07/03/19 Page 8 of 17 PageID #: 8



extended financing periods and lower rate auto loans, and even zero-percent financing credit

offers for in-store credit lines, are all, by and large, driven by a consumer’s FICO score.

         43.      Inaccurate or incorrect credit reporting often results in a lower FICO score, and thus

higher costs of credit, diminished opportunity, and less purchasing power for consumers.

         44.      The improper deletion or suppression of a mortgage or automobile tradeline can

have a particularly adverse effect on a consumer’s FICO score as it removes any positive

payment history of the largest credit line maintained by them (35% of a consumer’s FICO

score), it alters the age/length of credit history (15% of a consumer’s FICO score), and it alters the

mix of accounts/types (10% of a consumer’s credit score).

               Inaccurate and Materially Misleading Information Reported by Equifax.

         45.      Sometime in March of 2017, Shelton obtained a copy of her consumer credit report

as published by Equifax.

         46.      The report contained erroneous information as provided by Nissan, now

published and reported by Equifax. Specifically, the Equifax credit report failed to reflect the

obligation was reaffirmed, that Shelton continued to make timely and or that adequate payments

during and after the bankruptcy proceedings referenced above.

         47.      Because the foregoing obligation had in fact been reaffirmed not discharged, the

information described above was inaccurate and misleading.

         48.      Equifax’s reporting was also inaccurate and misleading because it does not comply

with the CDIA’s Metro 2 reporting standards, as discussed above.

         49.      While not dispositive, Courts rely on such guidance to determine furnisher liability.

See Nissou-Rabban v. Capital One Bank (USA), N.A., 285 F. Supp. 3d 1136 (S.D. Cal., Jan. 23,

2018).
Case 1:19-cv-02726-RLY-DLP Document 1 Filed 07/03/19 Page 9 of 17 PageID #: 9



        50.     Further, failure to adhere to the Metro 2 format, and/or the failure to follow the

guidance of regulatory and industry sources, such as the CDIA, is evidence of willfulness of an

FCRA violation under 15 U.S.C. § 1681n(a). See Gillespie v. Equifax Info. Servs., LLC., No.

05C138, 2008 WL 4316950 (N.D. Ill. Sept. 15, 2008).

        51.     In a letter dated July 31, 2017, Shelton disputed the inaccurate and misleading

information to Equifax and advised Equifax of the specific facts that rendered the reporting

inaccurate and misleading.

        52.     A true and accurate copy of the dispute letter is attached hereto as “Exhibit C.”

        53.     Pursuant to 15 U.S.C. § 1681i, Equifax had a duty to notify Nissan of Plaintiff’s

dispute within five (5) business days of receiving Plaintiff’s dispute, to forward all relevant

information and any documents included with Plaintiff’s dispute for Nissan to review, to conduct a

reasonable reinvestigation of the disputed information, and to thereafter correct the tradeline or

delete it from Plaintiff’s consumer file.

        54.     Upon information and belief, Equifax timely notified Nissan of Shelton’s dispute in

accordance with 15 U.S.C.A. § 1681i (West).

        55.     In the alternative, Equifax failed to provide Nissan with notice of Shelton’s dispute.

        56.     In response, within a document dated August 27, 2017, Equifax advised Shelton that

it had researched her dispute and the current status was being reported correctly. However, Equifax

provided a copy of the tradeline as reported that reproduced some of the errors identified by Shelton

in her original dispute letter. Specifically, the tradeline still failed to indicate that Shelton continued

to make timely and adequate payments on the obligation, instead reflecting a “Date of Last

Activity” of “09/2016” and an “Actual Payment Amount” of $0.

        57.     A true copy of the Equifax reinvestigation report is attached as “Exhibit D.”
Case 1:19-cv-02726-RLY-DLP Document 1 Filed 07/03/19 Page 10 of 17 PageID #: 10



         58.     Shelton provided all necessary information with her dispute letter to Equifax, does

 have a current Equifax file, and has actively used credit in the past ten years.

         59.     Equifax was required to communicate the specifics of Shelton’s dispute to

 Nissan. Likewise, Nissan had a duty to investigate the dispute and accurately report their findings

 to Equifax.

         60.     Equifax had an affirmative duty to reasonably reinvestigate the dispute submitted by

 Shelton and to accurately report the tradeline information notwithstanding the information it

 received Nissan.

         61.     In June of 2019, having paid off her obligation to Nissan, Shelton again obtained a

 copy of her Equifax credit report.

         62.     A true and accurate copy of the Equifax credit report dated June 7, 2019, is attached

 hereto as “Exhibit E.”

         63.     The Equifax credit report dated June 7, 2019, contains additional erroneous

 information as provided by Nissan, now published and reported by Equifax. Specifically, the

 Equifax credit report still reflects a “Balance Amount” of “$2,534.00”, the same amount it did on

 the reinvestigation report described above, a “Scheduled Payment Amount” of $316, and a “Status”

 of “Pays As Agreed.”

         64.     Because Shelton’s obligation to Nissan was paid in full and closed, the information

 detailed above was and remains inaccurate and misleading.

                                 Equifax’s Willful Conduct in Detail.

         65.     Under § 1681i, which mandates the procedures a CRA must follow in cases of

 disputed accuracy, there are (only) two scenarios under which a CRA may legally be allowed to

 refrain from notifying the furnisher of disputed information of a consumer’s dispute: 1.) if a CRA
Case 1:19-cv-02726-RLY-DLP Document 1 Filed 07/03/19 Page 11 of 17 PageID #: 11



 determines that a consumer’s dispute is frivolous or irrelevant; and/or, 2.) if the CRA resolves

 the dispute under an expedited dispute resolution process.

         66.     Neither scenario applies to Equifax’s conduct complained of herein.

         67.     Under § 1681i(a)(3), a CRA may be relieved of its duty to notify the furnisher

 of the disputed information of the consumer’s dispute if the CRA determines that a consumer’s

 dispute is frivolous or irrelevant.

         68.     However, because § 1681i(a)(2) requires that a CRA notify a furnisher of

 disputed information within five (5) days of receiving a consumer’s dispute, the CRA must make

 the determination that the dispute is frivolous or irrelevant before the five ( 5 ) days is up.

         69.     In the event, a CRA determines that a consumer’s dispute is frivolous or

 irrelevant, § 1681i(a)(3) requires the CRA to notify the consumer notice of the CRA’s

 determination. That notice must: be given within five (5) days of the CRA’s determination;

 be in writing, or by other means authorized by consumer; state the reason(s) the CRA

 determined the dispute was frivolous or irrelevant; and, identify any information required to

 investigate the disputed information, which may consist of a standardized form describing the

 general nature of such information.

         70.     Equifax did not inform Plaintiff that it had determined her dispute was

 frivolous or irrelevant, as required by § 1681i(a)(3)(B) if a dispute is determined to be frivolous or

 irrelevant.

         71.     Equifax did not identify any information required to investigate Plaintiff’s

 dispute, as required by § 1681i(a)(3)(C) if a dispute is determined to be frivolous or irrelevant.

         72.     Rather, in the reinvestigation report dated August 27, 2017, Equifax stated,

 “Our investigation of the dispute you recently submitted is now complete.”
Case 1:19-cv-02726-RLY-DLP Document 1 Filed 07/03/19 Page 12 of 17 PageID #: 12



         73.     Plaintiff’s dispute was clear and unambiguous as to the inaccurate

 information that Equifax was reporting.

         74.     Equifax had clear notice that the information it was reporting was false and

 misleading.

         75.     Plaintiff provided Equifax with all of the necessary information for Equifax and

 Nissan to investigate Plaintiff’s dispute, and to correct the false and misleading information.

         76.     If Equifax had conducted a reasonable reinvestigation and notified Nissan of

 Plaintiff’s dispute, the Nissan information would be reported accurately.

         77.     Equifax knew that it had a duty to conduct a reasonable reinvestigation of

 Plaintiff’s dispute.

         78.     Equifax had the ability to easily conduct a reasonable reinvestigation of

 Plaintiff’s dispute.

         79.     Despite the foregoing, Equifax made the intentional choice to not conduct a

 reasonable reinvestigation of Plaintiff’s dispute, in reckless disregard of its duties under the

 FCRA.

         80.     Accordingly, Equifax’s conduct was willful.

         81.     Equifax knew that it had a duty to notify Nissan of Plaintiff’s dispute

 within five (5) business days of receiving Plaintiff’s dispute.

         82.     Equifax had the ability to easily notify Nissan of Plaintiff’s dispute, via e-Oscar or

 otherwise.

         83.     Despite the foregoing, Equifax made the intentional choice to not notify Nissan

 of Plaintiff’s dispute, in reckless disregard of its duties under the FCRA.

         84.     Accordingly, Equifax’s conduct was willful.
Case 1:19-cv-02726-RLY-DLP Document 1 Filed 07/03/19 Page 13 of 17 PageID #: 13




                 Injury to Plaintiff As A Result of the Acts and Omissions Herein

         85.     The Defendants acts and omissions have injured Shelton in several ways including

 but not limited to the diminishment of her FICO and other credit scoring models.

         86.     The Defendants impermissibly failed to correct Shelton’s tradeline, which relates to

 a large secured debt obligation, without conducting a reasonable reinvestigation of the disputed

 information, without notifying Shelton, and without just cause.

         87.     The failure to correct a large secured debt obligation, negatively affected and

 diminished her FICO and other credit scoring model scores by excluding positive payment history,

 length of credit history, and credit mix information that would, but for the suppression or deletion,

 be used to calculate her credit score.

         88.     The current reporting of a balance due and a scheduled payment amount on a debt

 that has been paid off is also negatively affecting her credit scoring model scores.

         89.     Courts have regularly held that allegations of lower credit scores, taken as true, are

 sufficient to allege a concrete injury-in-fact for the purposes of standing under Article III. Pedro v.

 Equifax, Inc., 868 F.3d 1275 (11th Cir. 2017)(“[H]er credit score dropped 100 points as a result of

 the challenged conduct. Because Pedro alleged that she suffered an injury in fact, she has standing

 to pursue her complaint.”); Diedrich v. Nissan Loan Servicing, LLC., 839 F.3d 583 (7th Cir. 2016)

 (standing where Plaintiffs alleged that they “have suffered damage to their credit and been forced to

 pay Nissan greater payments and a higher interest rate.”); Santangelo v. Comcast Corp., 162 F.

 Supp. 3d 691 (N.D. Ill. 2016)(“a depleted credit score is sufficient to constitute an injury-in-fact for

 the purposes of establishing Article III standing.”) Binns v. Nissan Loan Servicing, LLC., 2015 WL

 5785693, at *9 (S.D. Ind. Sept. 30, 2015) (“injuries to plaintiffs’ credit scores and reputations were

 considered intangible harms”).
Case 1:19-cv-02726-RLY-DLP Document 1 Filed 07/03/19 Page 14 of 17 PageID #: 14




           90.    Shelton was and remains desirous of improving her FICO and other credit risk

 modeling scores so obtain financing and insurance at more favorable rates.

           91.    Shelton is currently paying increased interest and insurance premiums that are not

 reflective of her true credit risk.

           92.    As such, Shelton took specific actions to address inaccuracies and misleading

 information in her credit reports.

           93.    If the Defendants had upheld their duties to report accurately and conducted a

 reasonable investigation of Shelton’s dispute, the tradeline would have been reporting as a current

 and positive account in late 2017 and paid off as of the most recent report.

           94.    If the secured debt obligation was reported as a positive account with a history of

 timely and adequate payments, Shelton’s FICO and other credit scoring model scores would be

 improved.

           95.    If Shelton’s FICO and other credit model scores were improved to where they

 should be, she could avail herself to additional credit opportunities or credit opportunities at more

 favorable rates, and enjoy the cost savings inherent thereto.

                                            TRIAL BY JURY

           96.    Shelton is entitled to and hereby requests a trial by jury.

                                         CAUSES OF ACTION

                    COUNTS I & II: VIOLATION OF THE FCRA (EQUIFAX)
                          [15 U.S.C.A. § 1681e(b) and 1681i (West)]

           97.    Shelton incorporates by reference all preceding paragraphs as though fully stated

 herein.

           98.    Equifax negligently, or in the alternative willfully, violated 15 U.S.C.A. §1681e(b)
Case 1:19-cv-02726-RLY-DLP Document 1 Filed 07/03/19 Page 15 of 17 PageID #: 15



 by failing to follow reasonable procedures to assure the maximum possible accuracy of Shelton’s

 consumer reports in failing to report the Nissan obligation as paid, disputed, and/or with all relevant

 information.

           99.    Equifax also negligently, or in the alternative willfully, violated 15 U.S.C.A. § 1681i

 in multiple ways including without limitation by failing to conduct a reasonable reinvestigation of

 Shelton’s dispute and by failing to appropriately modify inaccurate information in Shelton’s file.

 See Zahran v. Bank of Am., 2015 WL 4397779 (N.D. Ill. July 17, 2015)

           100.   As a result of Equifax’s violation of 15 U.S.C.A. § 1681e(b) and 15 U.S.C.A.

 §1681i, Shelton has suffered actual damage including but not limited to emotional distress, the

 unjust suppression of her FICO credit score, the resulting payment of increased costs of credit and

 insurance, loss of time, loss of credit opportunity, informational injury, and a material risk of future

 financial harm. Therefore, Shelton is entitled to recover actual and statutory damages pursuant to 15

 U.S.C.A. § 1681n and 1681o (West).

           101.   Shelton is entitled to recover costs and attorney’s fees from Equifax pursuant to 15

 U.S.C.A. § 1681n and 1681o.

                                COUNT III: VIOLATIONS OF THE FCRA
                                       [15 U.S.C.A. § 1681s-2(b)]

           102.   Shelton incorporates by reference all preceding paragraphs as though fully stated

 herein.

           103.   Nissan willfully and/or negligently violated 15 U.S.C.A. § 1681s-2(b) by failing to

 conduct reasonable investigations upon receiving notice of Shelton’s dispute from one or more

 consumer reporting agencies, and/or by failing to review all relevant information provided by the

 consumer reporting agencies, and/or by failing to appropriately report the results of its
Case 1:19-cv-02726-RLY-DLP Document 1 Filed 07/03/19 Page 16 of 17 PageID #: 16



 investigations, and/or by failing to appropriately modify, delete, and/or block the inaccurate

 information.

        104.    As a result of Nissan’s violations of 15 U.S.C.A. § 1681s-2(b), Shelton has

 suffered actual damages including but not limited to emotional distress (including aggravation,

 anxiety, and loss of rest), the unjust suppression of her FICO credit score, the payment of increased

 costs of credit and insurance, loss of time, loss of credit opportunity, informational injury, and a

 material risk of future financial harm. Therefore, Shelton is entitled to recover actual damages under

 15 U.S.C.A. § 1681n and 1681o.

        105.    Nissan’s actions and omissions were willful, caused Shelton concrete injury as set

 for above, rendering it liable for punitive damages and/or statutory damages pursuant to 15

 U.S.C.A. § 1681n.

        106.    Shelton is entitled to recover costs and attorney’s fees from Nissan pursuant to 15

 U.S.C.A. § 1681n and 1681o.

        WHEREFORE, Shelton respectfully requests the following relief:

        a. Actual damages;

        b. Statutory damages;

        c. Punitive damages pursuant to 15 U.S.C.A. § 1681n;

        d. Reasonable attorney’s fees and costs pursuant to 15 U.S.C.A. § 1681n and/or 1681o;

        e. That an Order be issued for the Defendants to modify the inaccurate information being

            reported; and

        f. Such other and further relief deemed just and proper.

                                                Respectfully submitted,

                                                /s/ Frank D. Otte
                                                Frank D. Otte, No. 19859-49
Case 1:19-cv-02726-RLY-DLP Document 1 Filed 07/03/19 Page 17 of 17 PageID #: 17



                                    CLARK QUINN MOSES SCOTT & GRAHN LLP
                                    320 N. Meridian Street, Suite 1100
                                    Indianapolis, IN 46204
                                    Telephone: (317) 637-1321
                                    Fax: (317) 687-2344
                                    fotte@clarkquinnlaw.com
                                    Counsel for the Plaintiff
